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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


                                          )
HELENE TONIQUE WILLIAMS,                  )
                                          )
            Plaintiff,                    )
                                          )
      v.                                  )                Civil Action No. 22-0975 (UNA)
                                          )
PRESIDENT JOE BIDEN, et al.,              )
                                          )
            Defendants.                   )
_________________________________________ )


                                  MEMORANDUM OPINION

       This matter is before the Court on review of this pro se plaintiff’s application to proceed

in forma pauperis and her civil complaint.

       The Court has reviewed the plaintiff’s complaint, keeping in mind that complaints filed

by pro se litigants are held to less stringent standards than those applied to formal pleadings

drafted by lawyers. See Haines v. Kerner, 404 U.S. 519, 520 (1972). Even pro se litigants must

comply with the Federal Rules of Civil Procedure. Jarrell v. Tisch, 656 F. Supp. 237, 239

(D.D.C. 1987). Rule 8(a) of the Federal Rules of Civil Procedure requires that a complaint

contain a short and plain statement of the grounds upon which the Court’s jurisdiction depends, a

short and plain statement of the claim showing that the pleader is entitled to relief, and a demand

for judgment for the relief the pleader seeks. Fed. R. Civ. P. 8(a). The purpose of the minimum

standard of Rule 8 is to give fair notice to the defendants of the claim being asserted, sufficient to

prepare a responsive answer, to prepare an adequate defense and to determine whether the

doctrine of res judicata applies. Brown v. Califano, 75 F.R.D. 497, 498 (D.D.C. 1977).
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       This complaint alleges hardly any facts, and otherwise falls short of the minimum

pleading standard set forth in Rule 8(a). Missing are statements establishing the grounds for this

Court’s jurisdiction, and a statement of the claim showing that the plaintiff is entitled to relief,

and a demand for any particular relief.

       The Court will grant the plaintiff’s application to proceed in forma pauperis and will

dismiss the complaint and this civil action without prejudice. An Order consistent with this

Memorandum Opinion is issued separately.
                                                                           2022.05.27
                                                                           12:27:04 -04'00'
DATE: May 27, 2022                                     TREVOR N. McFADDEN
                                                       United States District Judge
